Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 1:13-cv-23285-DPG

  AUTOMOTORES GALINDO, S.A.,

         Plaintiff,

  v.

  FORD MOTOR COMPANY,

        Defendant.
  ________________________________/

                       DEFENDANT FORD MOTOR COMPANY’S
                    STATEMENT OF UNDISPUTED MATERIAL FACTS
                IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

         Pursuant to Local Rule 56.1, Defendant, Ford Motor Company (“Ford”) hereby submits
  this statement of undisputed material facts in support of its motion for summary judgment.
  A.     Agr eement Between For d and Galindo S.A.

         1.      On April 15, 1999, Ford and Plaintiff Automotores Galindos, S.A. (“Galindo
  S.A.”) executed the Global Importer Dealer Sales and Service Agreement (“GIDS Agreement”).
  [DE 5-1, p. 4, ¶ 8; DE 6, pp. 2-3; DE 14-1, pp. 23-27].
         2.      According to the GIDS Agreement “the purpose of [the] agreement” was “to
  establish the Dealer [i.e., Galindo S.A.] as an authorized dealer for the sale and services of
  Company [i.e., Ford] Products, including Company Vehicles.” [DE 6, pp. 2-3; DE 14-1, p. 23].
         3.      Paragraphs A and D of the GIDS Agreement provide as follows:

              A. The Company hereby appoints the Dealer as an authorized dealer in
                 Company Products with the right to purchase Company Products from the
                 Company and Company authorized Affiliates for resale to retail
                 customers. While this Agreement is in effect, the Dealer may represent
                 itself to the public as an authorized dealer in such Company Products. The
                 Dealer hereby accepts such appointment and agrees to fulfill its
                 responsibilities as herein provided.


              D. The attached Global Importer Dealer Sales and Services Standard
                 Provisions (Form GIDSA 1A) and its Attachments including the Standards
Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 2 of 9




                  Manual (as hereinafter defined) have been read and agreed to by each
                  party and the Standard Provisions, and any duly executed and delivered
                  supplement, amendment, addendum and/or attachment thereto, are hereby
                  made a part of this Agreement.

  [DE 6, p. 3; DE 14-1, pp. 25, 29-51].

           4.     Paragraph G(i) of the GIDS Agreement provides that “this Agreement shall
  continue in force and effect from the date of its execution until terminated by either party under
  the provisions of paragraph 13 of the Standard Provisions.” [DE 6, p.3; DE 14-1, p. 27].
           5.     Paragraph 13 of the GIDS Standard Provisions sets out grounds for termination of
  the GIDS Agreement, including grounds based on “Nonperformance by Dealer.” [DE 6, p. 3;
  DE 14-1, pp. 43-45].
           6.     Paragraph 20 of the GIDS Standard Provisions contains a general merger clause,
  as follows:
           This Agreement terminates and supersedes all other agreements exclusively
           between the parties concerning the Dealer’s business in Company Products (with
           the exception of the Dealer’s unfulfilled orders for any Company Products) and
           constitutes the entire agreement between the parties with respect to the subject
           matter hereof. Each party acknowledges that, except as expressly set forth herein,
           no representation, understanding or presumption of law or fact has been made or
           relied upon (a) which has induced the execution of this Agreement or would in
           any way modify any of its provisions, or (b) with respect to the effectiveness or
           duration of this Agreement or the sales or profit expectancy of the Dealer’s
           business in Company Products. The Dealer further acknowledges that it has
           voluntarily entered into this Agreement without coercion or intimidation or threats
           from Company, and that each of its provisions is reasonable, fair and equitable.

  [DE 6, pp. 3-4; DE 14-1, p. 50].

  B.       Exclusive Ar bitr ation and Choice of Law Pr ovisions in the GIDS Agr eement
           7.     Paragraph 14 of the GIDS Standard Provisions is entitled “DISPUTE
  RESOLUTION PROCESS,” and provides, in its entirety, as follows:
           The Company and the Dealer recognize that disputes may occur which cannot be
           resolved in the normal course of business. In the event any such dispute, claim
           or controversy arises between the parties in connection with the breach,
           implementation, invalidity or termination of this Agreement and any and all
           Attachments thereto, the following procedure shall be implemented and shall
           constitute the exclusive recourse of the parties:
           a)     The Company and the Dealer shall hold a meeting promptly, attended by
                  persons with decision-making authority regarding the dispute, to attempt


  100071331.1                                      2
Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 3 of 9




                in good faith to negotiate a resolution of the dispute; provided, however,
                that no such meeting shall be deemed to vitiate or reduce the obligations
                and liabilities of the parties hereunder or be deemed a waiver by a party
                hereto of any remedies to which such party would otherwise be entitled
                hereunder.

           b)   If, within thirty (30) days after such meeting, the Company and the Dealer
                have not succeeded in negotiating a resolution of the dispute, they agree
                to submit the dispute to a binding arbitration in accordance with the
                United Nations Commission on Trade Law (herein after referred to as
                “UNCITRAL”) Arbitration Rules in effect on the date of the Agreement.

                (1)    The appointing authority shall be the American Arbitration
                       Association.

                (2)    The case shall be administered by the American Arbitration
                       Association in accordance with its “Procedures for Cases
                       under the UNCITRAL Arbitration Rules.”

                (3)    The parties will jointly appoint a mutually acceptable arbitrator,
                       seeking assistance in such regard from the American Arbitration
                       Association if they have been unable to agree upon such
                       appointment within 20 days after commencement of arbitral
                       proceedings.

                (4)    The costs of arbitration shall be borne by the losing party.

                (5)    If either party fails to observe the terms of the arbitration award,
                       the other party may apply to have the award enforced in any courts
                       having jurisdiction over the party against which the award has been
                       rendered.

                (6)    All proceedings in any such arbitration shall be conducted in
                       English and a daily transcript in English of such proceedings shall
                       be prepared.

                (7)    Binding arbitration shall take place in the State of Michigan
                       unless otherwise agreed by the parties in writing. The substantive
                       and procedural law of the State of Michigan, without giving
                       regard to its conflict of law rules, shall apply to the proceedings
                       and the parties agree to accept such jurisdiction. Equitable
                       remedies shall be available in any arbitration. Punitive damages
                       shall not be available. This Paragraph 14 is subject to Federal
                       Arbitration Act, 9 U.S.C.A. (United States Code Annotated) § 1 et
                       seq. and judgment upon the award rendered by the Arbitrator, if
                       any, shall be final and binding upon the parties.



  100071331.1                                    3
Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 4 of 9




           The Company and the Dealer agree that the dispute resolution process outlined in
           this paragraph 14, which includes binding arbitration, shall be the exclusive
           mechanism for resolving any controversy or claim between them arising out
           of or relating in any way to this Agreement including all attachments hereto,
           its creation, interpretation, implementation, invalidity or termination.

  (Emphasis added). [DE 6, pp. 4-5; DE 14-1, pp. 45-46].

           8.     Paragraph 25 of the GIDS Standard Provisions is entitled “APPLICABLE LAW,”
  and provides, in its entirety, as follows:
           The Dealer and the Company intend this Agreement to be governed by and
           construed in accordance with the law of the State of Michigan, United States of
           America. The United States Convention on Contracts for the International Sale of
           Goods is expressly excluded from and shall not apply to this Agreement or
           transactions hereunder.

  [DE 14-1, p. 51].

  C.       Ter mination Of The GIDS Agr eement
           9.     On February 1, 2002, Ford terminated the GIDS Agreement in accordance with
  paragraph 13 of the GIDS Standard Provisions. [DE 5-1, p. 4, ¶ 9; DE 6, p. 5].
  D.       Commencement Of The Bolivian Action By Galindo S.A.
           10.    On August 2, 2002, Galindo S.A. filed a civil lawsuit in the City of Cochabamba,
  Republic of Bolivia, against Ford (“Bolivian Court Action”). [DE 5-1, p. 3, ¶ 3; DE 6, p. 6; DE
  14-2, pp. 5-19].
           11.    In the Bolivian Court Action, Galindo S.A.’s claimed that Ford had fraudulently
  induced Galindo S.A. to enter into the GIDS Agreement by means of (a) misrepresentations of
  Galindo S.A.’s risks and obligations under the GIDS Agreement, and (b) failure to timely
  execute the GIDS Agreement. Galindo S.A. claimed that these “misrepresentations” and the
  alleged delay rendered impossible Galindo S.A.’s performance under the GIDS Agreement and
  ultimately led to the termination by Ford of Galindo S.A.’s dealership. [DE 5-1, pp. 4-5, ¶¶ 9-10;
  DE 6, p. 6; DE 14-2, pp. 5-19].
           12.    Galindo S.A.’s claim in the Bolivian Court Action was assigned to the Seventh
  Judge of Civil and Commercial Claims of the Judicial District of Cochabamba (“Seventh Civil
  Judge”). [DE 5-1, p. 5, ¶ 11; DE 6, p. 7]




  100071331.1                                     4
Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 5 of 9




  E.       For d’s Ar bitr ation Objection to Bolivian Cour t Action
           13.    On November 24, 2003, Ford’s Bolivian counsel filed an objection to the Seventh
  Civil Judge’s lack of subject matter jurisdiction (“Arbitration Objection”). [DE 5-1, pp. 5-6, ¶¶
  13-16; DE 6, pp. 7-8; DE 14-2, pp. 21-35].
           14.    The Arbitration Objection was based on the exclusive arbitration provision
  contained in paragraph 14 of the GIDS Standard Provisions, above. The Arbitration Objection
  was filed pursuant to article 12 III of the Bolivian Conciliation and Arbitration Law No. 1770,
  which provides as follows:
           Once the existence of an arbitration agreement is verified, and without possibility
           of filing any appeal, the judicial authority shall grant the arbitration objection, or,
           deciding only on the nullity or impossible execution of the arbitral agreement, the
           judicial authority shall reject the arbitration objection.

  [DE 5-1, pp. 5-6, ¶¶ 13-16; DE 14-2, pp. 21-35; DE 14-2, pp. 23-24].
           15.    On March 29, 2004, the Seventh Civil Judge issued a ruling dismissing Ford’s
  Arbitration Objection. [DE 5-1, p. 6, ¶ 18; DE 6, p. 8; DE 14-2, pp. 37-41].
                  16.     In dismissing the Arbitration Objection, the Seventh Civil Judge ruled as
  follows:
           Ford Motor Company has unilaterally terminated the validity of the contract; now,
           in regard to the damages that the dealer [Galindo] claims were caused by this act
           (the unilateral rupture of the contract), it is impossible to submit this claim for
           arbitration in an Arbitration Court of the State of Michigan, United States of
           America, in accordance with the contract.

  [DE 14-2, p 38]. In other words, the court ruled that since Ford terminated the GIDS Agreement,
  the forum selection clause of that agreement was also terminated and was thus unenforceable.
  [DE 5-1, p. 7 ¶ 19; DE 6, p. 8].
  F.       For d’s Appeal of the Ar bitr ation Objection Ruling

           17.    April 12, 2004, Ford filed an appeal from the Arbitration Objection Ruling to the
  Second Court of Civil Claims of the Judicial District of Cochabamba (“Appeals Court”). [DE 5-
  1, p. 7, ¶20; DE 6, p. 8; DE 14-2, pp. 43-53].
           18.    Ford’s appeal was based on Article 11 of the Bolivian Conciliation and
  Arbitration Law, which provides that “[e]very arbitration agreement that forms part of a
  primary contract is considered to be an agreement that is independent of the other stipulations
  therein.” [DE 5-1, p. 7, ¶ 20; DE 6, p. 8; DE 14-2, p. 45].


  100071331.1                                        5
Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 6 of 9




           19.       On May 26, 2006, the Appeals Court ruled (a) that it had no jurisdiction over
  Ford’s appeal; (b) that the ruling remitting the appeal to the Appeals Court was null and void;
  and (c) that Arbitration Objection Ruling was res judicata. [DE 5-1, pp. 7-8, ¶ 21; DE 6, pp. 8-9;
  DE 14-2, pp. 55-59].
  G.       For d’s Appeal to the Constitutional Appeals Cour t

           20.       On December 9, 2006, Ford filed a constitutional appeal (the “Constitutional
  Appeal”) before the Third Court of Criminal Claims of the Judicial District of Cochabamba (the
  “Constitutional Appeals Court”). [DE 5-1, p. 8, ¶ 23; DE 6, p. 9; DE 14-2, pp. 61- 79].
           21.      In the Constitutional Appeal, Ford sought a review and reversal of the Seventh
  Civil Judge’s Arbitration Objection Ruling and of the decision of the Appeals Court. Id.
           22.      On February 2, 2007, the Constitutional Appeals Court rejected Ford’s appeal.
  [DE 5-1, pp. 8-10, ¶ 24; DE 6, pp. 9-10; DE 14-2, pp. 61- 79].
           23.      The bases given by the Constitutional Appeals Court for rejecting the appeal were
  as follows:
                 (a) that Ford had not proven its registration in the Bolivian Registry of Commerce
  because the seal on the document submitted by Ford which demonstrated Ford’s registration was
  “not authenticated by the officer in charge of the Registry of Commerce,” but, instead, by “the
  officer who is the legal depository of that document;”
                 (b) that, for the same reason, the power of attorney submitted by Ford’s counsel was
  “not sufficient to evidence [his] legal standing” as Ford’s attorney;
                 (c) that, even if the power of attorney was valid, it only allowed the attorney to act “in
  defense of [Ford] in the ordinary civil proceedings” filed by” Galindo S.A., and did not
  “specifically authorize him to act in this constitutional . . . appeal; and
                 (d) that the copy of the power of attorney of Ford’s counsel was defective in that it
  contained “parts in a foreign language that have not been translated.”
  [DE 5-1, pp. 8-10, ¶ 24; DE 6, pp. 9-10; DE 14-2, pp. 81-84].
           24.      The Constitutional Appeals Court did not address the merits of Ford’s appeal. Id.
  H.       Review By The Bolivian Constitutional Tr ibunal
           25.      The ruling of the Constitutional Appeals Court was forwarded for review to the
  Bolivian Constitutional Tribunal. [DE 5-1, p. 10, ¶ 25; DE 6, p. 10].




  100071331.1                                          6
Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 7 of 9




           26.   On July 12, 2010, the Constitutional Tribunal affirmed the decision of the
  Constitutional Appeals Court. [DE 5-1, pp. 10-11, ¶ 25; DE 6, p. 10; DE 14-2, pp. 91-111].
           27.   The Constitutional Tribunal ruled that in filing its Constitutional Appeal Ford has
  failed to submit “proof of its [Ford’s] legal personality, documents regarding the legal structure
  of its body of offices and members of the said body, the election of its legal representatives,
  regulations authorizing the delegation of powers, etc.” The Constitutional Tribunal ruled that the
  remedy sought by Ford “should be denied without going into an analysis of the merits of the
  case.” [DE 5-1, pp. 10-11, ¶ 25; DE 6, p. 10; DE 14-2, pp. 91-100]
           28.   The Constitutional Tribunal also ruled that because the Arbitration Objection
  Ruling issued by the Seventh Civil Judge was not appealable to the Appeals Court (i.e., through
  the regular appeals process), the six-month period for filing the Constitutional Appeal began to
  run not from the ruling of the Appeals Court (May 26, 2006), but from the Arbitration Objection
  Ruling issued by the Seventh Civil Judge (March 29, 2004). Consequently, because the Appeals
  Court took more than two years to issue its ruling, the Constitutional Tribunal deemed the
  Constitutional Appeal as having been filed past the six-month deadline. [DE 5-1, pp. 11-12, ¶¶
  26-28; DE 6, p. 10; DE 14-2, pp. 91-100]
           29.   With the ruling of the Constitutional Tribunal, Ford had exhausted all of its legal
  avenues to enforce the arbitration provision of the GIDS Agreement before the Bolivian courts.
  [DE 5-1, p. 12, ¶ 29; DE 6, p. 10].
  I.       Judgment Against Ford
           30.   After exhausting its avenues to enforce the arbitration provision in the Bolivian
  court system, Ford did not submit any opposition to the substantive arguments made by Galindo
  S.A. in the Bolivian Court Action. [DE 5-1, p. 12, ¶ 29; DE 6, p. 10].
           31.   In February-April 2012, the Bolivian court entered a judgment against Ford in the
  total amount of $11,103,852.50. [DE 1-2, pp. 2-32].




  100071331.1                                     7
Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 8 of 9




  Dated: January 14, 2015                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 14, 2015, I electronically filed the foregoing with
  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
  this day on all counsel of record or pro se parties identified on the attached Service List in the
  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
  or in some other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.
                                                                /s/ Gary M. Pappas
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  100071331.1                                     8
Case 1:13-cv-23285-DPG Document 57 Entered on FLSD Docket 01/14/2015 Page 9 of 9




                                    SERVICE LIST

                               Automotores Galindo, S.A.
                                          v.
                                 Ford Motor Company
                              CASE No.: 13-CV-23285-DPG


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  100071331.1                             9
